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                                   UNITED STATES DISTRICT COURT
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                                 CENTRAL DISTRICT OF CALIFORNIA

 8                                          WESTERN DIVISION

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10    LICGO PARTNERS, LLC, SOVERIGN                               Case No. CV 21-2390-MWF (SKx)
      PARTNERS, LLC, and PARADIGM
11    CAPITAL HOLDINGS, LLC,                                      ORDER GRANTING
                                                                  STIPULATION FOR VOLUNTARY
12                            Plaintiffs,                         DISMISSAL PURSUANT TO RULE
                                                                  41(a)(1)(A)(ii), FED. R.CIV.PRO.
13               v.
      KEITH BERMAN, DECISION
14    DIAGNOSTICS CORP. and
      PHARMATECH SOLUTIONS, INC.
15                        Defendants.
      _________________________________
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17           The Court has reviewed the parties’ Stipulation for Voluntary Dismissal (Docket No. 45).
18    For good cause shown, the Court GRANTS the parties’ request to voluntarily dismiss this action
19    without prejudice and without fees or costs to any party.

20           IT IS SO OREDERED.

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22    Dated: June 24, 2022                         _____________________________________
23                                                 MICHAEL W. FITZGERALD
                                                   United States District Judge
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